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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                                  )
                                                           )
                Plaintiff,                                 )       CR. NO. 1:19-cr-10040-JBD
                                                           )
vs.                                                        )
                                                           )
ANDREW RUDIN,                                              )
                                                           )
                Defendant.                                 )


                          PROTECTIVE ORDER
______________________________________________________________________

        Upon written motion of the United States, and for good cause shown pursuant to

Rule 16(d)(1) of the Federal Rules of Criminal Procedure, it is hereby ordered:

        Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United

States filed a motion for entry of a Protective Order to ensure the confidentiality of any

personal and confidential information1 of others included within the discovery and

evidence in this case.

        The parties respectfully agree to the following conditions and restrictions:

        1) the materials provided are for the sole use of counsel in preparing for the
           defense of this case2 and shall not be copied, reproduced or otherwise
1
         “Personal and confidential information” means any information that can be used to identify an
individual, including but not limited to name, address, e-mail address, Medicare, Medicaid, and Social
Security numbers, driver’s license number, national identification number, IP address, vehicle registration
numbers, photographs, fingerprints, handwriting, credit card numbers, date of birth, telephone numbers,
login name, screen name, nickname, handle, bank account numbers, or any other identifying number, phrase
or set of characters, and individually identifiable health and medical information, including (i) information
concerning past, present or future physical or mental health or conditions, (ii) the provision of health care
to an individual and (iii) past, present or future payment for the provision of health care to an individual.
The documents may also contain confidential information concerning ongoing investigations.

2
        “[U]se of counsel in preparing the defense of this case” contemplates and permits dissemination to
counsel’s staff, experts, consultants, interpreters, and other parties contracted with counsel for the defense
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            disseminated to third parties, or used for any other purpose or in connection
            with any other proceedings; and

        2) Counsel shall not disseminate copies of the discovery without first filing a
           motion with the Court requesting permission to make such disclosure, and
           explaining why such disclosure is necessary in preparing for trial – except that
           counsel may arrange for review of such materials by the Defendant in the
           presence of counsel or members of counsel’s staff. Defendant shall not make
           any notes or otherwise make any record of the contents of the discovery unless
           the same are held by counsel for safekeeping. If Defendant requires greater
           access to the discovery in order to prepare for trial, Defendant may file a motion
           requesting modification of this provision; and

        3) notwithstanding any ethical rules governing file preservation, retention and
           destruction, counsel is required to destroy all materials containing personal
           information of other persons within 45 days of the conclusion of this case3 or to
           return all such materials to counsel for the United States.


SO ORDERED this 10th day of July, 2019.



                                                 s/ J. DANIEL BREEN
                                                 THE HONORABLE J. DANIEL BREEN
                                                 UNITED STATES DISTRICT JUDGE




of this case provided that all parties to whom disclosures of personal identifying information and
confidential information are made are informed that personal and confidential information may not be used
for any purpose other than for this case. Counsel should be required to take all reasonable steps to ensure
that persons receiving personal and confidential information do not use or disclose any such information
for any purpose other than for use in this case.
3
        The case should be deemed concluded after all trial and appellate proceedings or upon the
expiration of the time to commence any further proceedings.
